Case 2:17-cv-01984-ES-MAH Document1 Filed 03/24/17 Page 1 of 49 PagelD: 1

UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

 

 

BPavbieCf FLIw /lo77 6 fla

2 hos

Cri wkl

Complaint for Employment= ri 4

 

Discrimination

 

(In the space above enter the full name(s) of the plaintiff(s).) Case No.

(to be filled in by the Clerk’s Office)

 

-against-
Jury Trial: Oh Yes O No

PILED SCPC IIAZ CO
(check one)

Fre. 32COXKs

 

 

(Write the full name of each defendant who is being sued. If
the names of all the defendants cannot fit in the space above,
please write “see attached” in the space and attach an

additional page with the full list of names.)

 

 
Case 2:17-cv-01984-ES-MAH Document1 Filed 03/24/17 Page 2 of 49 PagelD: 2

I. The Parties to This Complaint
A. The Plaintiff(s)

Provide the information below for each plaintiff named in the complaint. Attach
additional pages if needed.

Name “Kob e_ Q-+ Faun Kne@

Street Address QZ CLADE ‘Gy C Kao.

City and County Ze@RonA NN. 3S- OT1COKK
Stateand ZipCode AA SRQmBex coor. tc

Telephone Number SInma- ss7 Fy Q C>

B. The Defendant(s)

Provide the information below for each defendant named in the complaint,
whether the defendant is an individual, a government agency, an organization, or
a corporation. For an individual defendant, include the person’s job or title (if
known). Attach additional pages if needed.

Defendant No. 1

 

 

Name L2WIOO! SC/2€. -,9\ + Z EO
Job or Title

(if known)

Street Address SRO Ave Pe

 

City and County S72 Cw Or Ie lK 2s8S Cx
State and Zip Code Soe De OW OSD
Telephone Number ZO! SSB //IOO
E-mail Address

(if known)

 

Defendant No. 2

 

 

Name Dew SO oY. iy

Job or Title Ve -? Vy a A ae ao SVD
(if known) °

Street Address SO Ave px

 

City and County SP Eu IO KK ess Cx
Case 2:17-cv-01984-ES-MAH Document 1 Filed 03/24/17 Page 3 of 49 PagelD: 3

State and Zip Code Z2e S- OFS
Telephone Number ZO ND 3. 7Z4CO&
E-mail Address

(if known)

 

Defendant No. 3

Name

Job or Title
(if known)

Street Address

 

 

 

City and County
State and Zip Code

 

 

Telephone Number

E-mail Address
(if known)

 

 

Defendant No. 4

Name

Job or Title
(if known)

Street Address

 

 

 

City and County
State and Zip Code

 

 

Telephone Number

E-mail Address
(if known)

 

 

Cc, Place of Employment

The address at which I sought employment or was employed by the defendant(s)
is:

 

 

Name SIDLL Ot ss CG lA CED 4 te ec
Street Address SO Wve. K
City and County Z2euwarek essex

 

State and Zip Code f7e . COF/OD |
Telephone Number Zsa SS 3-//OO
Il.

Hl.

Case 2:17-cv-01984-ES-MAH Document1 Filed 03/24/17 Page 4 of 49 PagelD: 4

Basis for Jurisdiction

This action is brought for discrimination in employment pursuant to (check all that

apply):
o/s VII of the Civil Rights Act of 1964, as codified, 42 U.S.C. §§ 2000e

LI

to 2000e-17 (race, color, gender, religion, national origin).

(Note: In order to bring suit in federal district court under Title VII, you
must first obtain a Notice of Right to Sue letter from the Equal
Employment Opportunity Commission.)

Age Discrimination in Employment Act of 1967, as codified, 29 U.S.C.
§§ 621 to 634.

(Note: In order to bring suit in federal district court under the Age
Discrimination in Employment Act, you must first file a charge with the
Equal Employment Opportunity Commission.)

Americans with Disabilities Act of 1990, as codified, 42 U.S.C. §§ 12112
to 12117.

(Note. In order to bring suit in federal district court under the Americans
with Disabilities Act, you must first obtain a Notice of Right to Sue letter
from the Equal Employment Opportunity Commission.)

Other federal law (specify the federal law):

 

Relevant state law (specify, if known):

 

Relevant city or county law (specify, if known):

 

Statement of Claim

Write a short and plain statement of the claim. Do not make legal arguments. State as

briefly as possible the facts showing that each plaintiff is entitled to the damages or other

relief sought. State how each defendant was involved and what each defendant did that

caused the plaintiff harm or violated the plaintiffs rights, including the dates and places

of that involvement or conduct. If more than one claim is asserted, number each claim

and write a short and plain statement of each claim in a separate paragraph. Attach
additional pages if needed.
Case 2:17-cv-01984-ES-MAH Document 1 Filed 03/24/17 Page 5 of 49 PagelD: 5

A. The discriminatory conduct of which I complain in this action includes (check all

that apply):

JURE

(Note:

Failure to hire me.
Termination of my employment.

Failure to promote me.

Failure to accommodate my disability.

Unequal terms and conditions of my employment.
Retaliation.

Other acts (specify):

 

Only those grounds raised in the charge filed with the Equal

Employment Opportunity Commission can be considered by the federal

district

court under the federal employment discrimination statutes.)

B. It is my best recollection that the alleged discriminatory acts occurred on date(s)

QeLS/6 -~-S-S-SCE

 

C. I believe that defendant(s) (check one):

 

wy,

 

 

 

 

 

is/are still committing these acts against me.

is/are not still committing these acts against me.

D. Defendant(s) discriminated against me based on my (check all that apply and

explain):

LC} DOU

Trace

 

color

 

gender/sex

 

religion

 

national origin

 

age. My year of birth is . (Give your year of birth
only if you are asserting a claim of age discrimination.)

disability or perceived disability (specify disability)

 
Case 2:17-cv-01984-ES-MAH Document1 Filed 03/24/17 Page 6 of 49 PagelD: 6

E. The facts of my case are as follows. Attach additional pages if needed.

 

 

 

 

(Note: As additional support for the facts of your claim, you may attach to this
complaint a copy of your charge filed with the Equal Employment Opportunity
Commission, or the charge filed with the relevant state or city human rights
division.)

IV. Exhaustion of Federal Administrative Remedies

A. It is my best recollection that I filed a charge with the Equal Employment
Opportunity Commission or my Equal Employment Opportunity counselor
regarding the defendant’s alleged discriminatory conduct on (date)

TZ? ZB- SG
B. The Equal Employment Opportunity Commission (check one):

has not issued a Notice of Right to Sue letter.
‘issued a Notice of Right to Sue letter, which I received on (date)
Le Zee [7
(Note: Attach a copy of the Notice of Right to Sue letter from the
Equal Employment Opportunity Commission to this complaint.)

C, Only litigants alleging age discrimination must answer this question.

Since filing my charge of age discrimination with the Equal Employment
Opportunity Commission regarding the defendant’s alleged discriminatory
conduct (check one):

[] 60 days or more have elapsed.
[] less than 60 days have elapsed.
VI.

Case 2:17-cv-01984-ES-MAH Document1 Filed 03/24/17 Page 7 of 49 PagelD: 7

Relief

State briefly and precisely what damages or other relief the plaintiff asks the court to
order. Do not make legal arguments. Include any basis for claiming that the wrongs
alleged are continuing at the present time. Include the amounts of any actual damages
claimed for the acts alleged and the basis for these amounts. Include any punitive or
exemplary damages claimed, the amounts, and the reasons you claim you are entitled to
actual or punitive money damages.

 

 

 

 

 

 

Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my
knowledge, information, and belief that this complaint: (1) is not being presented for an
improper purpose, such as to harass, cause unnecessary delay, or needlessly increase the
cost of litigation; (2) is supported by existing law or by a non-frivolous argument for
extending, modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support
after a reasonable opportunity for further investigation or discovery; and (4) the
complaint otherwise complies with the requirements of Rule 11.

A. For Parties Without an Attorney

I agree to provide the Clerk’s Office with any changes to my address where case-
related papers may be served. I understand that my failure to keep a current
address on file with the Clerk’s Office may result in the dismissal of my case.

Date of signing: 3-229 ,20//7

Signature of Plaintiff Pree Korie VAC
Printed Name of Plaintiff “Ati 4ees Ae /e

 
Case 2:17-cv-01984-ES-MAH Document1 Filed 03/24/17 Page 8 of 49 PagelD: 8

B. For Attorneys

Date of signing: ,20

Signature of Attorney

 

Printed Name of Attorney

 

Bar Number

 

Name of Law Firm
Address

Telephone Number
E-mail Address

 

 

 

 
Case 2:17-cv-01984-ES-MAH Document1 Filed 03/24/17 Page 9 of 49 PagelD: 9

EEOC Form 161-B (11/16) U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

 

NOTICE OF RIGHT TO SUE (/SSUED ON REQUEST)

 

To: Robert L. Faulkner From: Newark Area Office
32 Cambridge Road 283-299 Market Street
Verona, NJ 07044 Two Gateway Center, Suite 1703

Newark, NJ 07102

On behalf of person(s) aggrieved whose identity is
CONFIDENTIAL (29 CFR §1601.7(a))

 

 

EEOC Charge No. EEOC Representative Telephone No.
524-2016-01089 Rayba Watson, Enforcement Supervisor (973) 645-6021
(See also the additional information enclosed with this form.)
NOTICE TO THE PERSON AGGRIEVED: os

Title Vi of the Civil Rights Act of 1964, the Americans with Disabilities Act (ADA), or the Genetic information Nondiscrimination
Act (GINA): This is your Notice of Right to Sue, issued under Title VII, the ADA or GINA based on the above-numbered charge. It has
been issued at your request. Your lawsuit under Title VII, the ADA or GINA must be filed in a federal or state court WITHIN 90 DAYS
of your receipt of this notice; or your right to sue based on this charge will be lost. (The time limit for filing suit based on a claim under
state law may be different.)

More than 180 days have passed since the filing of this charge.

[| Less than 180 days have passed since the filing of this charge, but | have determined that it is unlikely that the EEOC will
be able to complete its administrative processing within 180 days from the filing of this charge.

The EEOC is terminating its processing of this charge.
[| The EEOC will continue to process this charge.

“Age Discrimination in Employment Act (ADEA): You may sue under the ADEA at any time from 60 days after the charge was filed until
90 days after you receive notice that we have completed action on the charge. In this regard, the paragraph marked below applies to
your case:

The EEOC is closing your case. Therefore, your lawsuit under the ADEA must be filed in federal or state court WITHIN
90 DAYS of your receipt of this Notice. Otherwise, your right to sue based on the above-numbered charge will be lost.

[] The EEOC is continuing its handling of your ADEA case. However, if 60 days have passed since the filing of the charge,
you may file suit in federal or state court under the ADEA at this time.

Equal Pay Act (EPA): You already have the right to sue under the EPA (filing an EEOC charge is not required.) EPA suits must be brought
in federal or state court within 2 years (3 years for willful violations) of the alleged EPA underpayment. This means that backpay due for
any violations that occurred more than 2 years (3 years) before you file suit may not be collectible.

lf you file suit, based on this charge, please send a copy of your court complaint to this office.

On behalf of the Commission
JAN 2 4 2817

 

Enclosures(s) ohn Waldinger, (Date Mailed)
Area Office Director

cc. Bea Scotti
VP, HR & Labor Relations
' THE MANISCHEWITZ COMPANY
80 Ave. K
Newark, NJ 07105
Case 2:17-cv-01984-ES-MAH Document1 Filed 03/24/17 Page 10 of 49 PagelD: 10
‘Enclosure with EEOC
Form 161-B (11/18)

INFORMATION RELATED TO FILING SUIT
UNDER THE LAWS ENFORCED BY THE EEOC

(This information relates to filing suit in Federal or State court under Federal law.
If you also plan to sue claiming violations of State law, please be aware that time limits and other
provisions of State law may be shorter or more limited than those described below.)

Title VII of the Civil Rights Act, the Americans with Disabilities Act (ADA),
the Genetic Information Nondiscrimination Act (GINA), or the Age
Discrimination in Employment Act (ADEA):

PRIVATE SUIT RIGHTS =-

In order to pursue this matter further, you must file a lawsuit against the respondent(s) named in the charge within
90 days of the date you receive this Notice. Therefore, you should keep a record of this date. Once this 90-
day period is over, your right to sue based on the charge referred to in this Notice will be lost. If you intend to
consult an attorney, you should do so promptly. Give your attorney a copy of this Notice, and its envelope, and tell
him or her the date you received it. Furthermore, in order to avoid any question that you did not act in a timely
manner, it is prudent that your suit be filed within 90 days of the date this Notice was mailed to you (as
indicated where the Notice is signed) or the date of the postmark, if later.

Your lawsuit may be filed in U.S. District Court or a State court of competent jurisdiction. (Usually, the appropriate
State court is the general civil trial court.) Whether you file in Federal or State court is a matter for you to decide
after talking to your attorney. Filing this Notice is not enough. You must file a "complaint" that contains a short
statement of the facts of your case which shows that you are entitied to relief. Courts often require that a copy of
your charge must be attached to the compiaint you file in court. if so, you should remove your birth date from the
charge. Some courts will not accept your compiaint where the charge includes a date of birth. Your suit may include
any matter alleged in the charge or, to the extent permitted by court decisions, matters like or related to the matters
alleged in the charge. Generally, suits are brought in the State where the alleged unlawful practice occurred, but in
some cases can be brought where relevant employment records are kept, where the employment would have
been, or where the respondent has its main office. If you have simple questions, you usually can get answers from
the office of the clerk of the court where you are bringing suit, but do not expect that office to write your complaint
or make legal strategy decisions for you.

PRIVATE SUIT RIGHTS -- Equal Pay Act (EPA):

EPA suits must be filed in court within 2 years (3 years for willful violations) of the alleged EPA underpayment: back
pay due for violations that occurred more than 2 years (3 years) before you file suit may not be collectible. For
example, if you were underpaid under the EPA for work performed from 7/1/08 to 12/1/08, you should file suit
before 7/1/10 ~ not 12/1/10 -- in order to recover unpaid wages due for July 2008. This time limit for filing an EPA
suit is separate from the 90-day filing period under Title VIl, the ADA, GINA or the ADEA referred to above.
Therefore, if you also plan to sue under Title Vil, the ADA, GINA or the ADEA, in addition to suing on the EPA
claim, suit must be filed within 90 days of this Notice and within the 2- or 3-year EPA back pay recovery period.

ATTORNEY REPRESENTATION -- Title VH, the ADA or GINA:

If you cannot afford or have been unable to obtain a lawyer to represent you, the U.S. District Court having jurisdiction
in your case may, in limited circumstances, assist you in obtaining a lawyer. Requests for such assistance must be
made to the U.S. District Court in the form and manner it requires (you should be prepared to explain in detail your
efforts to retain an attorney). Requests should be made well before the end of the 90-day period mentioned above,
because such requests do not relieve you of the requirement to bring suit within 90 days.

ATTORNEY REFERRAL AND EEOC ASSISTANCE~ -- All Statutes:

You may contact the EEOC representative shown on your Notice if you need help in finding a lawyer or if you have any
questions about your legal rights, including advice on which U.S. District Court can hear your case. if you need to
inspect or obtain a copy of information in EEOC's file on the charge, please request it promptly in writing and provide
your charge number (as shown on your Notice). While EEOC destroys charge files after a certain time, all charge files
are kept for at least 6 months after our last action on the case. Therefore, if you file suit and want to review the charge
file, please make your review request within 6 months of this Notice. (Before filing suit, any request should be
made within the next 90 days.)

IF YOU FILE SUIT, PLEASE SEND A COPY OF YOUR COURT COMPLAINT TO THIS OFFICE.
» Case 2:17-cv-01984-ES-MAH Document1 Filed 03/24/17 Page 11 of 49 PagelD: 11

o

EEOC Form 5 (11/09)

 

CHARGE OF DISCRIMINATION Charge Presented To: Agency(ies) Charge No(s):

This form is affected by the Privacy Act of 1974. See enclosed Privacy Act [| FEPA
Statement and other information before completing this form.
[x] EEoc

524-2016-01089

 

 

New Jersey Division On Civil Rights and EEOC
State or local Agency, if any

 

Name (indicate Mr., Ms., Mrs.) Home Phone (inci. Area Code) Date of Birth

Mr. Robert Faulkner (973) 857-8930 10-16-1968

 

 

 

Street Address City, State and ZIP Code

32 Cambridge Rd., Verona, NJ 07044

 

Named is the Empioyer, Labor Organization, Employment Agency, Apprenticeship Committee, or State or Local Government Agency That | Believe
Discriminated Against Me or Others. (/f more than two, list under PARTICULARS below.)

 

 

 

 

 

Name No. Employees, Members Phone No. (include Area Code)
MANISCHEWITZ Unknown (201) 553-1100
Street Address City, State and ZIP Code

80 Ave. K, Newark, NJ 07105

 

 

 

 

 

Name No, Employees, Members Phone No. (include Area Code)
mo
2
Street Address City, State and ZIP Code to cl c. wed
mi SOT
mo Tm
BPO mm 03
a ee os. pitas
DISCRIMINATION BASED ON (Check appropriate box(es).) DATE(S) DISERIMINATION TOOK PLACE

y

Earliegt. y= Latest
what = ae
RACE [| COLOR [| SEX [| RELIGION [| NATIONAL ORIGIN 03-24-2046 uo XX-XXXXXXX

ve a
[] RETALIATION [] AGE [] DISABILITY [] GENETIC INFORMATION = Co
[| OTHER (Specify) {| CONTINUING ACTION

 

 

THE PARTICULARS ARE (if additional paper is needed, attach extra sheet(s)):
| was hired by the above named employer on or about October 11, 2015. My most recent position title

was that of General Helper.

On or about March 15, 2016, | became incarcerated for a charge that was ultimately dismissed.
Nonetheless, | was suspended on March 24, 2016 and eventually terminated on April 4, 2016. The
reason for my termination that was first provided to me was that it was because my incarceration
was due to a violent act. The company later changed their reason and indicated that my termination
was due to lay-offs caused by low sales margins. | feel my race may have been a factor in the
decision to separate my employment.

Accordingly, I feel 1 have been discriminated against on the basis of race (Black), in violation of Title
Vil of the Civil Rights Act of 1964, as amended (Title Vil).

 

 

| want this charge filed with both the EEOC and the State or local Agency, if any. | NOTARY — When necessary for State and Local Agency Requirements
will advise the agencies if | change my address or phone number and | will
cooperate fully with them in the processing of my charge in accordance with their

 

 

procedures. | swear or affirm that | have read the above charge and that it is true to
| declare under penalty of perjury that the above is true and correct. the best of my knowledge, information and belief.
SIGNATURE OF COMPLAINANT

_ KeCecH TO BEFORE ME THIS DATE
Jul 22, 2016 / (month, day, year
4

Date Charging Party Signature 7 ~2-o { 6 fr

 

 

 
..

-™ Case 2:17-cv-01984-ES-MAH Document1 Filed 03/24/17 Page 12 of 49 PagelD: 12

CP Enclosure with EEOC Form 5 (11/09)

PRIVACY ACT STATEMENT: Under the Privacy Act of 1974, Pub. Law 93-579, authority to request
personal data and its uses are:

1. FoRM NumBer/TITLE/DATE. EEOC Form 5, Charge of Discrimination (11/09).
2. AUTHORITY. 42 U.S.C. 2000e-5(b), 29 U.S.C. 211, 29 U.S.C. 626, 42 U.S.C. 12117, 42 U.S.C. 2000ff-6.

3. PRINCIPAL PURPOSES. The purposes of a charge, taken on this form or otherwise reduced to
writing (whether later recorded on this form or not) are, as applicable under the EEOC anti-
discrimination statutes (EEOC statutes), to preserve private suit rights under the EEOC statutes,
to invoke the EEOC's jurisdiction and, where dual-filing or referral arrangements exist, to begin
state or local proceedings.

4. Routine USES. This form is used to provide facts that may establish the existence of matters
covered by the EEOC statutes (and as applicable, other federal, state or local laws). Information
given will be used by staff to guide its mediation and investigation efforts and, as applicable, to
determine, conciliate and litigate claims of unlawful discrimination. This form may be presented to
or disclosed to other federal, state or local agencies as appropriate or necessary in carrying out
EEOC's functions. A copy of this charge will ordinarily be sent to the respondent organization
against which the charge is made.

5. WHETHER DISCLOSURE IS MANDATORY; EFFECT OF NOT GIVING INFORMATION. Charges must be
reduced to writing and should identify the charging and responding parties and the actions or
policies complained of. Without a written charge, EEOC will ordinarily not act on the complaint.
Charges under Title VII, the ADA or GINA must be sworn to or affirmed (either by using this form
or by presenting a notarized statement or unsworn declaration under penalty of perjury); charges
under the ADEA should ordinarily be signed. Charges may be clarified or amplified later by
amendment. It is not mandatory that this form be used to make a charge.

NOTICE OF RIGHT TO REQUEST SUBSTANTIAL WEIGHT REVIEW

Charges filed at a state or local Fair Employment Practices Agency (FEPA) that dual-files charges
with EEOC will ordinarily be handled first by the FEPA. Some charges filed at EEOC may also be
first handled by a FEPA under worksharing agreements. You will be told which agency will handle
your charge. When the FEPA is the first to handle the charge, it will notify you of its final
resolution of the matter. Then, if you wish EEOC to give Substantial Weight Review to the FEPA's
final findings, you must ask us in writing to do so within 15 days of your receipt of its findings.
Otherwise, we will ordinarily adopt the FEPA's finding and close our file on the charge.

NOTICE OF NON-RETALIATION REQUIREMENTS

Please notify EEOC or the state or local agency where you filed your charge if retaliation is

_ taken against you or others who oppose discrimination or cooperate in any investigation or
lawsuit concerning this charge. Under Section 704(a) of Title VII, Section 4(d) of the ADEA,
Section 503(a) of the ADA and Section 207(f) of GINA, it is unlawful for an employer to
discriminate against present or former employees or job applicants, for an employment agency to
discriminate against anyone, or for a union to discriminate against its members or membership
applicants, because they have opposed any practice made unlawful by the statutes, or because
they have made a charge, testified, assisted, or participated in any manner in an investigation,
proceeding, or hearing under the laws. The Equal Pay Act has similar provisions and Section
503(b) of the ADA prohibits coercion, intimidation, threats or interference with anyone for
exercising or enjoying, or aiding or encouraging others in their exercise or enjoyment of, rights
under the Act.
, Case 2:17-cv-01984-ES-MAH Document 1 Filed 03/24/17 Page 13 of 49 PagelD: 13

 

 

EEOC Form 161-B (11/16) U.S. Bu EMPLOYMENT OPPORTUNITY Commigppn
NOTICE OF RIGHT TO SUE (/SSUED ON REQUEST)
To: Robert L. Faulkner From: Newark Area Office
32 Cambridge Road 283-299 Market Street
Verona, NJ 07044 Two Gateway Center, Suite 1703

Newark, NJ 07102

On behalf of person(s) aggrieved whose identity is
CONFIDENTIAL (29 CFR §1601.7(a))

 

EEOC Charge No. EEOC Representative Telephone No.
524-2016-01089 Rayba Watson, Enforcement Supervisor (973) 645-6021

 

(See also the additional information enclosed with this form.)
NOTICE TO THE PERSON AGGRIEVED:
Title Vil of the Civil Rights Act of 1964, the Americans with Disabilities Act (ADA), or the Genetic Information Nondiscrimination
Act (GINA): This is your Notice of Right to Sue, issued under Title VII, the ADA or GINA based on the above-numbered charge. It has
been issued at your request. Your lawsuit under Title VII, the ADA or GINA must be filed in a federal or state court WITHIN 90 DAYS
of your receipt of this notice; or your right to sue based on this charge will be lost. (The time limit for filing suit based on a claim under
state law may be different.)

More than 180 days have passed since the filing of this charge.

Less than 180 days have passed since the filing of this charge, but | have determined that it is unlikely that the EEOC will
be able to complete its administrative processing within 180 days from the filing of this charge.

The EEOC is terminating its processing of this charge.

Ue OB

The EEOC will continue to process this charge.

Age Discrimination in Employment Act (ADEA): You may sue under the ADEA at any time from 60 days after the charge was filed until
90 days after you receive notice that we have completed action on the charge. In this regard, the paragraph marked below applies to
your case:

a

The EEOC is closing your case. Therefore, your lawsuit under the ADEA must be filed in federal or state court WITHIN
90 DAYS of your receipt of this Notice. Otherwise, your right to sue based on the above-numbered charge will be lost.

U

The EEOC is continuing its handling of your ADEA case. However, if 60 days have passed since the filing of the charge,
you may file suit in federal or state court under the ADEA at this time.

Equal Pay Act (EPA): You already have the right to sue under the EPA (filing an EEOC charge is not required.) EPA suits must be brought
in federal or state court within 2 years (3 years for willful violations) of the alleged EPA underpayment. This means that backpay due for
any violations that occurred more than 2 years (3 years) before you file suit may not be collectible.

if you file suit, based on this charge, please send a copy of your court complaint to this office.

On behalf of the Commission

JAN 2 4 2017

 

Enclosures(s) A\ohn Waldinger, (Date Mailed)
Area Office Director

ce. Bea Scotti
VP, HR & Labor Relations
THE MANISCHEWITZ COMPANY
80 Ave. K
Newark, NJ 07105
, Case 2:17-cv-01984-ES-MAH Document 1 Filed 03/24/17 Page 14 of 49 PagelD: 14

Enclosure with EEOC
Form 161-B (11/16)

INFORMATION RELATED TO FILING SUIT
UNDER THE LAWS ENFORCED BY THE EEOC

(This information relates to filing suit in Federal or State court under Federal law.
If you also plan to sue claiming violations of State law, please be aware that time limits and other
provisions of State law may be shorter or more limited than those described below.)

Title VII of the Civil Rights Act, the Americans with Disabilities Act (ADA),
the Genetic Information Nondiscrimination Act (GINA), or the Age
Discrimination in Employment Act (ADEA):

PRIVATE SUIT RIGHTS ~~ --

In order to pursue this matter further, you must file a lawsuit against the respondent(s) named in the charge within
90 days of the date you receive this Notice. Therefore, you should keep a record of this date. Once this 90-
day period is over, your right to sue based on the charge referred to in this Notice will be lost. If you intend to
consult an attorney, you should do so promptly. Give your attorney a copy of this Notice, and its envelope, and tell
him or her the date you received it. Furthermore, in order to avoid any question that you did not act in a timely
manner, it is prudent that your suit be filed within 90 days of the date this Notice was mailed to you (as
indicated where the Notice is signed) or the date of the postmark, if later.

Your lawsuit may be filed in U.S. District Court or a State court of competent jurisdiction. (Usually, the appropriate
State court is the general civil trial court.) Whether you file in Federal or State court is a matter for you to decide
after talking to your attorney. Filing this Notice is not enough. You musi file a "complaint" that contains a short
statement of the facts of your case which shows that you are entitled to relief. Courts often require that a copy of
your charge must be attached to the complaint you file in court. If so, you should remove your birth date from the
charge. Some courts witl not accept your complaint where the charge includes a date of birth. Your suit may include
any matter alleged in the charge or, to the extent permitted by court decisions, matters like or related to the matters
alleged in the charge. Generally, suits are brought in the State where the alleged unlawful practice occurred, but in
some cases can be brought where relevant employment records are kept, where the employment would have
been, or where the respondent has its main office. If you have simple questions, you usually can get answers from
the office of the clerk of the court where you are bringing suit, but do not expect that office to write your complaint
or make legal strategy decisions for you.

PRIVATE SUITRIGHTS -- Equal Pay Act (EPA):

EPA suits must be filed in court within 2 years (3 years for willful violations) of the alleged EPA underpayment: back
pay due for violations that occurred more than 2 years (3 years) before you file suit may not be collectible. For
example, if you were underpaid under the EPA for work performed from 7/1/08 to 12/1/08, you should file suit
before 7/1/10 — not 12/1/10 -- in order to recover unpaid wages due for July 2008. This time limit for filing an EPA
suit is separate from the 90-day filing period under Title VII, the ADA, GINA or the ADEA referred to above.
Therefore, if you also plan to sue under Title VII, the ADA, GINA or the ADEA, in addition to suing on the EPA
claim, suit must be filed within 90 days of this Notice and within the 2- or 3-year EPA back pay recovery period.

ATTORNEY REPRESENTATION -- Title VII, the ADA or GINA:

If you cannot afford or have been unable to obtain a lawyer to represent you, the U.S. District Court having jurisdiction
in your case may, in limited circumstances, assist you in obtaining a lawyer. Requests for such assistance must be
made to the U.S. District Court in the form and manner it requires (you should be prepared to explain in detail your
efforts to retain an attorney). Requests should be made well before the end of the 90-day period mentioned above,
because such requests do not relieve you of the requirement to bring suit within 90 days.

ATTORNEY REFERRAL AND EEOC ASSISTANCE -- All Statutes:

You may contact the EEOC representative shown on your Notice if you need help in finding a lawyer or if you have any
questions about your legal rights, including advice on which U.S. District Court can hear your case. If you need to
inspect or obtain a copy of information in EEOC's file on the charge, please request it promptly in writing and provide
your charge number (as shown on your Notice). While EEOC destroys charge files after a certain time, all charge files
are kept for at least 6 months after our last action on the case. Therefore, if you file suit and want to review the charge
file, please make your review request within 6 months of this Notice. (Before filing suit, any request should be
made within the next 90 days.)

IF YOU FILE SUIT, PLEASE SEND A COPY OF YOUR COURT COMPLAINT TO THIS OFFICE.
Case

2:17-cv-01984-ES-MAH Document 1 Filed 03/24/17 Page 15 of 49 PagelD: 15

\\ — ae “7
elie?

(Mey Cee <2 25,368 <e

LAKE 2. Caan

 

 
Case 2:17-cv-01984-ES-MAH Document1 Filed 03/24/17 Page 16 of 49 PagelD: 16

ESSEX COUNTY

Probation Division, Child Support Enforcement

PO BOX 372 Bed Fy

CHILD SUPPORT ENF UNIT shits

NEWARK, NJ 07101-0372 ——

Website: www.njchildsupport.org (877)655-4371
Fax: (973)693-6407

 

  

ROBERT L. FAULKNER
32 CAMBRIDGE RD
VERONA, NJ 07044-3003

 

HATCHER MELISSA SUPERIOR COURT OF NEW JERSEY
Plaintiff [x] Obligee [_] Obligor CHANCERY DIVISION, FAMILY PART
Docket No: FD-07-002409-07
VS. Case ID: CS31991533D

FAULKNER ROBERT L
Defendant [_] Obligee [x] Obligor

 

NOTICE OF MOTION TO ENFORCE LITIGANT'S RIGHTS

You are summoned and required to appear for the enforcement of the Support Order as a result of your failure to comply
as described in the attached certification.

Report To:
Date: 04/06/2017
Time: 01:30 PM
Location: HEARING ROOM 1, ROOM 1122, 212 WASHINGTON ST RM
1122,, HEARING RM 1, 11TH FL, NEWARK, NJ 07102-2990

Directions: www. njchildsupport.org.

You must appear at this hearing. Your failure to appear may result in the issuance of a warrant for your arrest and/or the
entry of a default order.

At this hearing, one or more of the following enforcement remedies may be applied: income withholding against your present
and future income, incarceration (jail), entry of a judgment in the amount of the arrears due, which may be filed as a lien
against your real or personal property, the posting of bond or other security to ensure future payments, or other relief as
allowed by Court Rules 1:10-3 and 5:7-5.

You may bring an attorney, although one is not required. If you require assistance in selecting an attorney, you may contact
the County Lawyer Service at (973)622-6204 . If you can not afford an attorney, you may contact the County Legal Services
office at .

If this matter is heard by a Child Support Hearing Officer, the hearing officer will make a recommendation to the court for
the enforcement of the support obligation. If you disagree with that recommendation, you may request that the case be
reviewed by a Judge.

Piease be advised that when a child support payment becomes past due, a judgment in the amount of the arrears is created
by operation of law under N.J.S.A. 2A:17-56.23a. Such judgment automatically results in a lien against your real or personal
property and, may be subject to post-judgment interest, at the rates prescribed by Court Rule 4:42-11.

 

02/22/2017 MICHELE MORA
Date Probation Child Support Manager

es

C€S040,53916217 131\DEDRA.OGUNJOBI\CS31991533D\35194266
Case 2:17-cv-01984-ES-MAH Document1 Filed 03/24/17 Page 17 of 49 PagelD: 17

 

State of New Jersey
STATE DISBURSEMENT UNIT
PO BOX 5485
TRENTON , NJ 08638-0485
Telephone: (877)655-4371

Office of Child Support Services

Notice of Non Custodial Parent (NCP) Payment History

Date: 03/23/2017
(Balances valid as of Print date)

Dear: ROBERT L FAULKNER

“ESTE DOCUMENTO CONTIENE INFORMACION IMPORTANTE PARA USTED. SI NO
ENTIENDE INGLES, USTED DEBE DE BUSCAR A ALGUIEN QUE SE LO TRADUZCA"”.

The following information provides a summary of your payment details during the last 24 months. If you have any
questions concerning this notice, please contact the New Jersey Family Support Services Center at (877)655-4371 .

 

Case ID: CS31991533D
Docket No.: FD-07-002409-07
CP. MELISSA HATCHER

Current Balance Due: $ 17,065.31

Arrears Payback Amount: $ 39.00

Arrears Payback Frequency: WEEKLY

Total Money Distributed for the Time Period: $ 4,789.01

 

__ Current Oblig

Obligation Amount —

 

 

As of today, a total of $0 is on hold and not yet applied to your case(s). If money currently on hold is subsequently
released and distributed, those funds may apply to one or more of your cases.

. “Payment Details

      

Sa —__ Receipt Number.

           

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

03/20/2017 03/20/2017 03/20/2017-0031-001-276 UNEMPLOYMENT COMPENSATION (UIB) $ 400. 00
03/13/2017 03/13/2017 03/13/2017-0024-001-372 | UNEMPLOYMENT COMPENSATION (UIB) $ 100.00
03/06/2017 03/06/2017 03/06/2017-0032-001-469 | UNEMPLOYMENT COMPENSATION (UIB) $ 100.00
12/29/2016 12/29/2016 12/29/2016-0004-528-034 | EMPLOYER WAGE $ 98.96
12/13/2016 12/13/2016 12/13/2016-0004-514-029 | EMPLOYER WAGE $ 100.00
12/07/2016 12/07/2016 12/07/2016-0006-337-045 | EMPLOYER WAGE $ 100.00
12/05/2016 12/05/2016 12/05/2016-0018-013-028 | EMPLOYER WAGE $ 100.00
11/14/2016 11/14/2016 11/14/2016-0016-136-018 | EMPLOYER WAGE $ 100.00
11/07/2016 11/07/2016 11/07/2016-0017-160-032 | EMPLOYER WAGE $ 100.00
10/31/2016 10/31/2016 10/31/2016-0014-097-017 | EMPLOYER WAGE $ 100.00
10/17/2016 10/17/2016 10/17/2016-0019-169-028 | EMPLOYER WAGE $ 100.00
10/11/2016 10/11/2016 10/11/2016-0017-333-034 | EMPLOYER WAGE $ 100.00
10/04/2016 10/04/2016 10/04/2016-0003-319-031 | EMPLOYER WAGE $ 100.00
09/26/2016 09/26/2016 09/26/2016-0008-430-033 | EMPLOYER WAGE $ 100.00
09/06/2016 09/06/2016 09/06/2016-0035-001-867 | UNEMPLOYMENT COMPENSATION (UIB) $ 100.00

 

 

 

ce

CS717,54433064

131\EVELIN.RIVERA\CS31991533D\35194266
Case 2:17-cv-01984-ES-MAH Document1 Filed 03/24/17 Page 18 of 49 PagelD: 18

 

v9 €SP$ ase pouad sity. sabem aiqexe) jesepa) ino,

 

DICCIS/e UO avon |
uO Pu a [Oe A, dwg

 

 

 

 

 

 

 

 

 

 

 

‘ _ Of bh uolu

le LOY et 0 OUFLO sarah —— EITITo)

Lb VE 6L°€- xel (aS/INS fN

. : 40°09 9€ °S- xe, swoou; ayeig Nn

16°02 eg°9- xe] sJedipeyy

12° €0€ ZL 8c- xe} Ajunoas jeio0s

Zh 92 Ol a- xe] awoou} jeiapa-
Asoynyeys suolonpag

29° 068.

O0O"e2 — . AepioH
. lo79k =) SL"SH ~~ 0000°6 © juaJeyiq IBIN
St 6€"9S0't e942 > . GLtS.° o0OS"EL. SUIBAQ
Loe 00°922'€ 00'09E .* O0'OF.: 0000°6 . Je;nBay
- ajep 0} ze0A pojled’ siyy, = .sunoy ©. ajel - sbuluseg
- 't

Case 2:17-cv-01984-ES-MAH Document1 Filed 03/24/17 Page 19 of 49 PagelD: 19

U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

Newark Area Office -
Two Gateway Center- Suite 1703

283-299 Market Street

Newark, NJ 07102-5233

Intake Information Group: (800) 669-4000

Intake Information Group TTY: (800) 669-6820

Newark Status Line: (866) 408-8075

Newark Direct Dial: (973) 645-4684

TTY (973) 645-3004

FAX (973) 645-4524

Website: www.ecoc.gov

 

February 3, 2017

Robert L. Faulkner
32 Cambridge Road
Verona, NJ 07044
Dear Mr. Faulkner:

Re: EEOC Number: 524-2016-01089, Faulkner v. The Manischewitz Company

This is in response to your recent request for copies of the charges filed referenced
above:

Please complete the enclosed EEOC Form 167, Agreement of
Nondisclosure, and return it to this office.

|__| 90 days have passed since the Notice of Dismissal and Notice of
Right to Sue was issued; please submit a copy of the court filing

in this case; otherwise your request will be denied. e

|__| Please remit to this office a certified check or money order

payable to American Legal Copying & Document Services,
Inc., in the amount of to cover processing and copying

costs. (NO PERSONAL CHECKS!)

Upon receipt of the above item(s), processing of your request for a copy of the above-
referenced investigative file will continue.

Sincerely,

John Waldinger
Area Director

 

Lo:HWY £- 9341192
Case 2:17-cv-01984-ES-MAH Document1 Filed 03/24/17 Page 20 of 49 PagelD: 20

U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
Newark Area Office

Two Gateway Center, Suite 1703

283-299 Market Street

Newark, NJ 07102-5233

intake Information Group: (800) 669-4000
Intake Information Group TTY: (800) 669-6820
Newark Status Line: (866) 408-8075

Newark Direct Dial: (973) 645-4684

TTY (973) 645-3004

FAX (973) 645-4524

Website: www.ceoc.gov

 

February 8, 2017

Robert L. Faulkner

32 Cambridge Road

Verona, NJ 07044

Re: EEOC Charge# 524-2016-01089, Faulkner v. The Manischewitz Company

Dear Mr. Faulkner:

Attached please find copies of the information/material regarding the above mentioned
EEOC charge file as per your request.

Sincerely,
John Waldinger
Area Director

JW:cb
Case 2:17-cv-01984-ES-MAH Document1 Filed 03/24/17 Page 21 of 49 PagelD: 21

- LPPolice @ @ Page 1 of 2

 

 

 

 

 

 

 

 

 

 

r
. . c —,
Manischewitz Co
Business Report Prepared 12/6/2016
Nw
ss , : Dati
IBusiness Profile Business Credit Rating
Company Name Manischewitz Co BB A+ = 95- (00/Excellent
Phone Numnber (201) 553-1100 HB A = 30-94:Excaliont
Add 80 A K BE 8+ = 85-89'Very Good
ress venue EB & = 80-84:Vory Good
City, State & ZIP Newark, NJ 07105 C+ = 70-79/Go0d
Web site www.rabfoodgroup.com C =60.69:Good
| = Institution’ t
Number of Employees Unknown a nsututonGovemnman
A+ HB OU = Unknown
Annual Revenue $100 to 500 Million
Type Of Business Food Preparations
Years in Business 10 or More Years

 

 

Area Competitors

 

 

r
Additional Contacts
Sheris Cookery
33 Delancey St

 

David Yale Newark NJ 07105
Chief Executive Officer Type of business:
(201) 553-1100 Distance (Miles): .9891
Steven Grossman Rex Wine Vinegar Co
Chief Financial Officer 830 Raymond Blvd
(201) 553-1100 Newark NJ 07105

Type of business:

Davis Rosi Distance (Mites): 1.0822

Chief Marketing Officer

(201) 553-4100 \Vienor Foods international
120 Orchard St

Carol Parker Newark NJ 07102

Executive Officer

(201) 553-1100 Type of business:

Distance (Miles): 1.525
Robert Solot

Golden Tropi
Executive Officer pics

1489 McCarter Hwy
(201) $53-1100 Newark NJ 07104
Randall Copeland Type of business:
Executive Officar Distance (Miles): 3.0261
(201) 553-1100 Paderno
Stuart Goldberg 1180 McLester St Ste 8
Executive Officer Elizabeth NJ 07201
(201) 553-1100 Type of business:

Distance (Miles): 3.6152
Deborah Ross

 

Executive Officer Aapka Big Bazaar
(201) 553-1100 831 Newark Ave
Jersey City NJ 07306
Susan Bubenas Type of business:
Manager Distance (Miles): 4.467

(201) 553-1100 .
Papetti's Egg Products
100 Trumbull St
Elizabeth NJ 07206
Type of business:
Distance (Miles): 4.622

 

Nearby Businesses

 

Feury Marketing Inc New York Fish House
85 Avenue K 32-34 Papetti Piz
Newark, NJ 07105 Elizabeth NJ 07206
(973) 465-0900 Type of business:
Type of business: Distance (Miles): 4.714

Distance (Miles): .0193
Oasis Trading Co inc
465 Hillside Ave

X Tech Hillside NJ 07205
&1 Avenue K Type of business:
Newark, NJ.07105 4 ‘les)”.

: LAT.
(973) 817-8000 Distance (Miles): 4.7455
Type of business: Han Jin Food Products
Distance (Miles): .0385 424 Brunswick St

Jersey City NJ 07302

Extech Industries Type of business:
61 Avenue K Distance (Miles): 5.1349

 

 

 

Newark, NJ 07105
(973) 274-3340

 

 
Case 2:17-cv-01984-ES-MAH Document1 Filed 03/24/17 Page 22 of 49 PagelD: 22

U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
Newark Area Office

Two Gateway Center, Suite 1703
283-299 Market Street

(973) 645-4689

TTY (973) 645-3004

FAX (973) 645-4524

 

Our Ref: Charge Number 524-2016-01089
Robert Faulkner v. Manischewitz Co.

Mr. Robert L. Faulkner
32 Cambridge Rd.
Verona, NJ 07044

Dear Mr. Faulkner,

This is to confirm that I have been assigned to investigate the above charge of discrimination.
Enclosed with this letter is a copy of the Respondent’s Position Statement with non-confidential
attachments. By accepting these documents, you agree that you will only share the contents with
persons in a privileged relationship to you, such as a spouse, clergy, or legal, medical or financial
advisor.

The evidence of record, which includes the evidence and information submitted by you and by
Respondent, concerning the above referenced charge, has been reviewed. A copy of
Respondent's position regarding your allegations of discrimination is enclosed.

In order for the Commission to issue a determination that there is reasonable cause to believe that
you were discriminated against because of race as alleged in your charge, the record of evidence
would have to support a conclusion that the Respondent took this into account in its actions.

If you wish to provide a response to Respondent's position please submit any further evidence in
support of your charge in writing within twenty (20) calendar days of the date of this letter. If no
further evidence is received a determination will be made based on the current record of
evidence.

Sincerely,

 

January 4, 2017
Date William McGovern

Investigator
(973) 645-2624

 
Case 2:17-cv-01984-ES-MAH Document 1 Filed 03/24/17 Page 23 of 49 PagelD: 23

 

    

THE

Manischewitz¥

COMPANY

December 19,2016

U.S. Equal Employment Commission — Newark Area Office
283-299 Market Street .

Two Gateway Center, Suite 1703

Newark, NJ 07102

Enforcement Supervisor — Rayba Watson

Re: EEOC charge No.:524-2016-01089 Robert Faulkner
Dear Ms. Watson,

| just received a letter from your organization addressed to our Former CEO, David Yale regarding the
above charge. My apologies first of all, | never received the electronic notice and Mr. Yale has not been
employed here since 2010.

{am electronically sending you via the eeoc respondent website the documentation and
correspondence that was mailed to former Employee Robert Faulkner and his Union, Local #359.

As stated in those documents, Mr. Faulkner was employed with The Manischewitz Company from
10/11/2015 to 03/10/2016 in the position of General Helper 2™ shift — Matzo Line.

Mr. Faulkner was a no-show from 03/11/2016 to 03/25/2016 which in accordance to the actual labor
Agreement , Article XV, section | is determined as immediate termination of employment. On
03/28/2016 Mr. Faulkner showed up at work with documentation (also attached) that he had been
incarcerated during that time. The charge was Domestic Violence and it also stated that Mr. Faulkner
was out on bail and awaiting further court charges.

We informed Mr. Faulkner that he had a week to bring in any documentation acquitting him from the
charges, but he never returned.

We understand that people make mistakes and we have employed many employees with a criminal
record (we knew of Mr. Faulkner’s criminal past). As long as it is not murder or child/woman
molestation, we believe that everyone deserves a second chance. But we also do not tolerate any type
Case 2:17-cv-01984-ES-MAH Document1 Filed 03/24/17 Page 24 of 49 PagelD: 24

 

threat. Therefore due to the type of charge, our constant obligation of providing our employees with a
safe and harass free environment and our need to fill the position, we had no alternative but to
terminate Mr. Faulkner from his employment on April 4", 2016.

Our position of termination stands.

Please do not hesitate to contact me if you should require additional information.

Sincerely,

Bea Scotti

VP, Human Resources and Labor Relations
The Manischewitz Company
201-553-1100 ext 2800

Bea.scotti@manischewitz.com
Case 2:1/ev-01984-ES-MAH Document1 Filed 03/24/17 Page 25 of 49 PagelD: 25

 

ey
*

EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
AGREEMENT OF NONDISCLOSURE

Pursuant to Section 705g(1) of Title Vil, the EEOC shall have power to cooperate with private individuals in order to accomplish the purposes

of Title Vil. This same authority also applies to actions under the Americans with Disabilities Act.

 

PERSON REQUESTING DISCLOSURE

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

AGGRIEVED PERSON ON AGGRIEVED PERSON NAMED PARTY IN CLASS
x CHARGING PARTY RESPONDENT WHOSE BEHALF CHARGE IN COMMISSIONER ACTION
ATTORNEY REPRESENTING
ce [ R AGGRIEVED PERSON ON AGGRIEVED PERSON IN NAMED PARTY IN CLASS
» WHOSE BEHALF CHARGE IS COMMISSIONER CHARGE ACTION
FILED

 

CHARGE NUMBER(S) OF FILE(S) TO BE DISCLOSED

 

 

>i = 7
ROBERT FAULKNER V. THE MANISCHEWITZ COMPANY a m ri
oo
“om
524-2016-01089 as
xO
ee ery
RO Teale

md

e

I, . Robert Faulkner request disclosure of Commission case file(s) in

 

connection with contemplated or pending litigation. | agree that the information disclosed to me will not be made public or used
except in the normal course of a civil action or other proceeding instituted under Title Vil or the Americans with Disabilities Act

involving such information.

In witness whereof, this agreement is entered into as of / day of HED a 20 [7

by the Equal Employment Opportunity Commission representative named below and the person requesting disclosure.

Person requesting disclosure (Signature and telephone number/area code)

BeZCeArT7bzI GEA FLA
KA S2 OG VY CRO 772. OFOoOYyy

Complete address

 

EEOC representative (Signature and title)

 

10/77/2015

 
Case 2:17-cv-01984-ES-MAH Document1 Filed 03/24/17 Page 26 of 49 PagelD: 26
Memorandum for Record
January 24, 2017

To whom it may concern:

My name is Robert L. Faulkner and | hereby request the right to sue and the termination of the
U.S. Equal Employment Opportunity’s investigation into the matters related to:

Charge #524-2016-01089 Faulkner v. Manischewitz

Regards,

Robert. L. Faulkner
VAsbectl LautfVe2(
Y ZY //7
Case 2:17-cv-01984-ES-MAH Document1 Filed 03/24/17 Page 27 of 49 PagelD: 27

U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
Newark Area Office

Two Gateway Center, Suite 1703
283-299 Market Street

(973) 645-4689

TTY (973) 645-3004

FAX (973) 645-4524

 

Our Ref: Charge Number 524-2016-01089
Robert Faulkner v. Manischewitz Co.

Mr. Robert L. Faulkner
32 Cambridge Rd.
Verona, NJ 07044

Dear Mr. Faulkner,

This is to confirm that I have been assigned to investigate the above charge of discrimination.
Enclosed with this letter is a copy of the Respondent’s Position Statement with non-confidential
attachments. By accepting these documents, you agree that you will only share the contents with
persons in a privileged relationship to you, such as a spouse, clergy, or legal, medical or financial
advisor.

The evidence of record, which includes the evidence and information submitted by you and by
Respondent, concerning the above referenced charge, has been reviewed. A copy of
Respondent's position regarding your allegations of discrimination is enclosed.

In order for the Commission to issue a determination that there is reasonable cause to believe that
you were discriminated against because of race as alleged in your charge, the record of evidence
would have to support a conclusion that the Respondent took this into account in its actions. _

If you wish to provide a response to Respondent's position please submit any further evidence in
support of your charge in writing within twenty (20) calendar days of the date of this letter. If no
further evidence is received a determination will be made based on the current record of
evidence.

  

Sincerely,

January 4, 2017
Date William McGovern

Investigator
(973) 645-2624

 
Cag

@ 2:17-cv-01984-ES-MAH Document 1 Filed 03/24/17 Page 28 of 49 PagelD: 28

\\

Citatenrwel Ce Clee

COCo one CO YY ZOD
Jo ZOYVE 4 fC ecas2€_
ANC™YUR SM Lee

O7? VILATCO LY ZOVE

UYLEC GZOLE G2 of

 
Case 2:17-cv-01984-ES-MAH Document1 Filed 03/24/17 Page 29 of 49 PagelD: 29

 

 

EEOC Form 5 (11/09)
CHARGE OF DISCRIMIN ATION Charge Presented To: Agency(ies) Charge No(s):
This form is affected by the Privacy Act of 1974. See enclosed Privacy Act [| FEPA
Statement and other information before completing this form.
| [X] EEoc 524-2016-01089

 

 

New Jersey Division On Civil Rights. and EEOC
State or local Agency, if any

 

 

 

 

Name (indicate Mr., Ms., Mrs.) , Home Phone (incl. Area Code) Date of Birth
Mr. Robert Faulkner (973) 857-8930 10-16-1968
Street Address City, State and ZIP Code '

32 Cambridge Rd., Verona, NJ 07044

 

Named is the Employer, Labor Organization, Employment Agency, Apprenticeship Committee, or State or Local Government Agency That ! Believe
Discriminated Against Me or Others. (/f more than two, list under PARTICULARS below.)

 

 

 

 

 

 

 

 

 

 

 

Name No. Employees, Members Phone No. (include Area Code}

MANISCHEWITZ Unknown (201) 553-1100

Street Address City, State and ZIP Code

RO Ave K> Newark, MLOTTER sere eet — seen

Name No, Employees, Members Phone No. finclude Area Code}
o

Street Address _ City, State and ZIP Code

DISCRIMINATION BASED ON (Check appropriate box(es).) DATE(S) DISCRIMINATION TOOK PLACE

Earliest Latest

[x] RACE [| COLOR [| SEX [| RELIGION [| NATIONAL ORIGIN 03-24-2016 04-04-2016
[| RETALIATION [| AGE [| DISABILITY [| GENETIC INFORMATION SS

. [| OTHER (Specify) Ld: gon ACTION.

 

 

THE PARTICULARS ARE (If additional paper is needed, attach extra sheet(s)): moO ~ " i
| was hired by the above named employer on or about October 11, 2015. My most Fecenk position title

was that of General Helper. o a

sand?

“ere x
On or about March 15, 2016, | became incarcerated for a charge that was ultimately:dismissed, - -
Nonetheless, | was suspended on March 24, 2016 and eventually terminated on ‘April 4, 2616. -The
reason for my termination that was first provided to me was that it was because my incdiperation
was due toa violent act. The company later changed their reason and indicated that my termination
was due to lay-offs-caused by-low sales margins. | feel my race may have beer a factor in-the

decision to separate my employment.

Accordingly, | feel | have been discriminated against on the basis of race (Black), in violation of Title
VII of the Civil Rights Act of 1964, as amended { iitie Vii).

 

 

1 want this charge filed with both the EEOC and the State or local Agency, if any. | NOTARY -- When necessary for State and Local Agency Requirements
will advise the agencies if | change my address or phone number and | will
cooperate fully with them in the processing of my charge in accordance with their

 

 

 

procedures. i swear or affirm that | have read the above charge and that it is true to
1 declare under penalty of perjury that the above is true and correct. the best of my knowledge, information and belief.
SIGNATURE OF COMPLAINANT

 

Li eR ar 00 L810

 
, Case 2:17-cv-01984-ES-MAH Document 1 Filed 03/24/17 Page 30 of 49 PagelD: 30

CP Enclosure with EEOC Form 5 (11/09)

Privacy Act STATEMENT: Under the Privacy Act of 1974, Pub. Law 93-579, authority to request
personal data and its uses are:

1. Form Numeer/TITLe/Date. EEOC Form 5, Charge of Discrimination (11/09).
2. AUTHORITY. 42 U.S.C. 2000e-5(b), 29 U.S.C. 217, 29U S.C. 626, 42 U.S.C. 12117, 42 U.S.C. 2000ff-6

3. PRINCIPAL PURPOSES. The purposes of a charge, taken on this form or otherwise reduced to
writing (whether later recorded on this form or not} are, as applicable under the EEOC anti-
discrimination statutes (EEOC statutes), to preserve private suit rights under the EEOC statutes,
to invake the EEOC's turisdiction and, where dual-filing or referral arrangements exist, to begin
state or local proceedings.

4. Routine USES. This form is used to provide facts that may establish the existence of matters
covered by the EEOC statutes (and as applicable, other federal, state or local laws). Information
given will be used by staff to guide its mediation and investigation efforts and, as applicable, to
determine, conciliate and litigate claims of unlawful discrimination. This form may be presented to
or disclosed to other federal, state or local agencies as appropriate or necessary in carrying out
EEOC's functions. A copy of this charge will ordinarily be sent to the respondent organization
against which the charge is made.

5. WHETHER DISCLOSURE IS MANDATORY; EFFECT OF NOT GIVING INFORMATION. Charges must be
reduced to writing and should identify the charging and responding parties and the actions or
policies complained of. Without a written charae, EEOC will ordinarily not act on the complaint.
Charges under Title Vil, the ADA or GINA must be sworn to or affirmed (either by using this form
or by presenting a notarized statement or unsworn declaration under penalty of perjury); charges
under the ADEA should ordinarily be sianed. Charges may be clarified or amplified later by
amendment. it is not mandatory that this form be used to make a charge.

NOTICE OF RIGHT TO REQUEST SUBSTANTIAL WEIGHT REVIEW

Charges filed at a state or local Fair Employment Practices Agency (FEPA) that dual-files charges
with EEOC will ordinarily be handled first by the FEPA. Some charges filed at EEOC may also be
first handled by a FEPA under worksharing agreements. You will be told which agency will handle
your charge. When the FEPA is the first to handle the charge, it will notify you of its final
resolution of the matter. Then, if you wish EEOC to give Substantial Weight Review to the FEPA's
final findings, you must ask us in writing to do so within 15 days of your receipt of its findings.
Otherwise, we will ordinarily adopt the FEPA's finding and close our file on the charge.

NoTICE OF NON-RETALIATION REQUIREMENTS

Please notify EEOC or the state or local agency where you filed your charge if retaliation is
taken against you or others who onpos:2 discrimination or cocperate in any investigation or
lawsuit concerning this charge. Under Section 704(a) of Title VII, Section 4(d) of the ADEA,
Section 503(a) of the ADA and Section 207(f) of GINA, it is unlawful for an employer to
discriminate against present or former employees or job applicants, for an employment agency to
discriminate against anyone, or for a union to discriminate against its members or membership
applicants, because they have opposed any practice made unlawful by the statutes, or because
they have made a charge, testified, assisted, or participated in any manner in an investigation,
proceeding, or hearing under the laws. The Equal Pay Act has similar provisions and Section
503(b) of the ADA prohibits coercion, intimidation, threats or interference with anyone for
exercising or enjoying, or aiding or encouraging others in their exercise or enjoyment of, rights
under the Act.
Case 2:17-cv-01984-ES-MAH Document1 Filed 03/24/17 Page 31 of 49 PagelD: 31

Ge

U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION: pron
INTAKE QUESTIONNAIRE Pe

 

Please immediately complete this entire form and return it to the U.S. Equal limaliby Agate cI
Commission (“EEOC”). REMEMBER, a charge of employment discrimination must be filed within the fime
limits imposed by law, within 180 days or in some places within 300 days of the alleged discriminatio Yeni this
form, we will review it to determine EEOC coverage. Answer all questions completely, and attach ao isituiteded
to complete your responses. If you do not know the answer to a question, answer by stating “not i fafohleStion is
_ hot applicable, write “N/A.” (PLEASE PRINT)

1. Personal Information

Last Name: 4.294% 49. 272 First Name: LCOS eX MI: 2

Street or Mailing Address: 22 CATODLE ICL e Rw Apt or Unit #:

Ciy: (pemZonwA7 County: ESS 2. State: “7- - Zip: Dx7oYY
Phone Numbers: Home: 473) 5°S77: 8G DC _ Work: ( )

Cell: (6 S/o, 353-2/33F Email Address:

Date of Birth: AC L G CSP Sex: [Male C1 Female Do You Have a Disability? O Yes MNO”

Please answer each of the next three questions. i. Are you Hispanic or Latino? Ol Yes O1No

 

 

ii, What is your Race? Please choose all that apply. (1 American Indian or Alaskan Native OJ Asian O White
Slack or African American O Native Hawaiian or Other Pacific Islander

iii. What is your National Origin (country of origin or ancestry)?

Please Provide The Name Of A Person We Can Contact If We Are Unable To Reach You:

Name: ZL, FPN IP CTE. Relationship: ~-P2O44A ce

Address: 2322 CPV77 DE. Gf 2 City: VeZova rz State: “7D. Zip Code: CO FOYY

Home Phone: Y 73) & S 7- SS. 3OQ) Other Phone:(__)

2. I believe that I was discriminated against by the following organization(s): (Check those that apply)

 

 

 

 

mployer Union O Employment Agency © Other (Please Specify)

 

Organization Contact Information (If the organization is an employer, provide the address where you actually worked. If you
work from home, check here__ and provide the address of the office to which you reported.) If more than one employer is
involved, attach additional sheets.

Organization Name: (724-77 CA Cw FZ

 

 

 

 

 

 

Address: SO “ZV 2. /49 Cony: A-sSsse-x

City: PPC AIA State:/7 Zip: CXY7/CS_ Phone: ZO) 3ss-//O0

Type of Business: A770 4 Oo Job Location if different from Org. Address:

Human Resources Director or Owner Name: 724 @C/2. S36 po 7 ° Phone: (ZC) <"573: //CO
Number of Employees in the Organization at All Locations: Please Check (v) One EX+- 2S0O
O Fewer Thani5 OF 15-100 O 101-200 1-500 More than 500

3. Your Employment Data (Complete as many items as you are able.) Are you a federal employee? O Yes W4t0~—
Date Hired: /O/ LL S12 Job Title At Hire: S--@ reese Ale te e/e
Pay Rate When Hired: S OC Last or Current Pay Rate: &, QE OC

Job Title at Time of Alleged Discrimination~S-.. A/ @//>-e€ /2__ Date Quit/Discharged: Z/ SUS LO

Name and Title of Immediate Supervisor: {77 LLL CL
Case 2:17-cv-01984-ES-MAH Document 1 Filed 03/24/17 Page 32 of 49 PagelD: 32

If Job Applicant, Date You Applied for Job /C// fh] 1d Job Title Applied For e797 fyDeLA tok
7

4, What is the reason (basis) for your claim of employment discrimination?

FOR EXAMPLE, if you feel that you were treated worse than someone else because of race, you should check the box next to
Race. [f you feel you were treated worse for several reasons, such as your sex, religion and national origin, you should check all
that apply. If you complained about discrimination, participated in someone else's complaint, or filed a charge of discrimination,
WA negative action was threatened or taken, you should check the box next to Retaliation.

Race O Sex ClAge O1 Disability O National Origin 0 Religion O Retaliation O Pregnancy ©] Color (typically a
difference in skin shade within the same race) [J Genetic Information; circle which type(s) of genetic information is involved: i.
genetic testing ii. family medical history iii. genetic services (genetic services means counseling, education or testing)

If you checked color, religion or national origin, please specify: 524

 

If you checked genetic information, how did the employer obtain the genetic information?

 

 

Other reason (basis) for discrimination (Explain):

 

5. What happened to you that you believe was discriminatory? Include the date(s) of harm, the action(s), and the name(s) and

title(s) of the person(s) who you believe discriminated against you. Please attach additional pages if needed.
(Example: 10/02/06 — Discharged by Mr, John Soto, Production Supervisor)

A. DateA-Zch /G Action: “S’Z¢//6 Bc S2¢eCV%eds F4er Cs GLE
Veer 78#eds H~Aep-2 S472 ZL“ Aye hf OFF CF Zou, SoS
Name and Title of Person(s) Responsible: Be. 3BCoOK

B. Date: BLetl/é Action: SE fe fm _Bheov 2.

Name and Title of Person(s) Responsible

 

 

 

6.. Why do you believe these actions were discriminatory? Please attach additional pages if needed.

 

 

7, What reason(s) were given to you for the acts you consider discriminatory? By whom? His or Her Job Title?

 

 

8. Describe who was in the same or similar situation as you and how they were treated. For example, who else applied for
the same job you did, who else had the same attendance record, or who else had the same performance? Provide the race,
sex, age, national origin, religion, or disability of these individuals, if known, and if it relates to your claim of
discrimination, For example, if your complaint alleges race discrimination, provide the race of each person; if it alleges sex
discrimination, provide the sex of each person; and so on. Use additional sheets if needed.

Of the persons in the same or similar situation as you, who was treated better than you?
Full Name Race, sex, age, national origin, religion or disability Job Title Description of Treatment

A.

 

 

 

 
“-Case Oe Document 1 Filed 03/24/17 Page 33 of 49 PagelD: 33

Of the persons in the same or similar situation as you, who was treated worse than you?
Full Name Race, sex, age, national origin, religion or disability Job Title Description of Treatment

A.

 

 

 

 

Of the persons in the same or similar situation as you, who was treated the same as you?
Full Name Race, sex, age, national origin, religion or disability Job Title Description of Treatment

A,

 

 

 

 

Answer questions 9-12 only if you are claiming discrimination based on disability. If not, skip to question 13. Please tell us
if you have more than one disability. Please add additional pages if needed.

9, Please check all that apply: CI Yes, I have a disability
C1 I do not have a disability now but I did have one
[1] No disability but the organization treats me as if J am disabled

10. What is the disability that you believe is the reason for the adverse action taken against you? Does this disability
prevent or limit you from doing anything? (e.g., lifting, sleeping, breathing, walking, caring for yourself, working, etc.).

 

 

 

11. Do you use medications, medical equipment or anything else to lessen or eliminate the symptoms of your disability?
[Yes (1 No
If “Yes,” what medication, medical equipment or other assistance do you use?

 

 

12, Did you ask your employer for any changes or assistance to do your job because of your disability?
[Yes (1 No

If “Yes,” when did you ask? How did you ask (verbally or in writing)?

 

Who did you ask? (Provide full name and job title of person)

 

Describe the changes or assistance that you asked for:

 

 

 

How did your employer respond to your request?

 

 
Case 2:17-cv-01984-ES-MAH Document1 Filed 03/24/17 Page 34 of 49 PagelD: 34

13. Are there any witnesses to the alleged discriminatory incidents? If yes, please identify them below and tell us what
they will say. (Please attach additional pages if needed to complete your response)

Full Name Job Title Address & Phone Number What do you believe this person will tell us?

 

 

 

 

14, Have you filed a charge previously on this matter with the EEOC or another agency? O Yes NNO

15, If you filed a complaint with another agency, provide the name of agency and the date of filing:

 

16. Have you sought help about this situation from a union, an attorney, or any other source? S-rés EI No
Provide name of organization, name of person you spoke with and date of contact. Results, if any?

Lee LA LCL CofA LP. W.-

 

Please check one of the boxes below to tell us what you would like us to do with the information you are providing on this
questionnaire, If you would like to file a charge of job discrimination, you must do so either within 180 days from the day you
knew about the discrimination, or within 300 days from the day you knew about the discrimination if the employer is located ina
place where a state or local government agency enforces laws similar to the EEOC’s laws. If you do not file a charge of
discrimination within the time limits, you will lose your rights, If you would like more information before filing a charge
or you have concerns about EEOC’s notifying the employer, union, or employment agency about your charge, you may
wish to check Box 1. If you want to file a charge, you should check Box 2.

 

BOX 1 ___I want to talk to an EEOC employee before deciding whether to file a charge. I understand that by checking this box, I have
not filed a charge with the EEOC. I also understand that I could lose my rights if I do not file a charge in time. ©

 

ill

 

 

BOX 2 WA want to file a charge of discrimination, and I authorize the EEOC to look into the discrimination I described above. I
understand that the EEOC must give the employer, union, or employment agency that I accuse of discrimination information about
the charge, including my name. | also understand that the EEOC can only accept charges of job discrimination based on race, color,
religion, sex, national origin, disability, age, genetic information, or retaliation for opposing discrimination.

 

Signature “ Today’s Date

PRIVACY ACT STATEMENT: This form is covered by the Privacy Act of 1974: Public Law 93-579. Authority for requesting personal data and the uses thereof are:

1) FORM NUMBERITITLE/DATE. EEOC Intake Questionnaire (9/20/08), 2) AUTHORITY. 42 USC § 2000e-5(b), 29 USC § 211, 29 USC § 626, 42 USC §12117(a), 42 USC §2000ff-6.

3) PRINCIPAL PURPOSE. The purpose of this questionnaire is to solicit information about claims of employment discrimination, determine whether the EEOC has jurisdiction over those
claims, and provide charge filing counseling, as appropriate. Consistent with 29 CFR 1601.12(b) and 29 CFR 1626.8(c), this questionnaire may serve as a charge if it meets the elements of a
charge. 4) ROUTINE USES. EEOC may disclose information from this form to other state, local and federal agencies as appropriate or necessary to carry out the Commission's functions, or
if EEOC becomes aware of a civil or criminal law violation. EEOC may also disclose information to respondents in litigation, to congressional offices in response to inquiries from parties to the
charge, to disciplinary committees investigating complaints against attorneys representing the parties to the charge, or to federal agencies inquiring about hiring or security clearance matters.
5) WHETHER DISCLOSURE |S MANDATORY OR VOLUNTARY AND EFFECT ON INDIVIDUAL FOR NOT PROVIDING INFORMATION. Providing this information is voluntary but the
failure to do so may hamper the Commission's investigation of a charge. It is not mandatory that this form be used to provide the requested information.

November 2009

 
Case 2:17-cv-01984-ES-MAH Document1 Filed 03/24/17 Page 35 of 49 PagelD: 35

COMPANY

Manischewitz >

March 28, 2016

Mr. Robert Faulkner

32 Cambridge Road

Verona, NJ 07044

Dear Mr. Faulkner,

This letter is confirmation that we have received from you today your documentation dated_03/24/201

As stated in Article XV, Section (i) of the Actual labor Agreement, the Company has the right to
terminate your employment.

Due to the circumstances of your absences, a more thorough investigation will take place to determine if
further disciplinary action up to termination from this employer should take place.

Therefore, you are suspended without pay until further investigation.

Please bring in any supporting documentation or documentation from court to assist us with your
employment determination.

Please do not hesitate to contact me if you should have any questions.
spon

e
VP, HR & Labor Relations

Bea.scotti@manischewitz.com
201-553-1100 ext 2800

CC: Employee File
Local Union

BO AVENUE € «© NEWARK, NJ 07105 + 201-553-1109
Case 2:17-cv-01984-ES-MAH Document1 Filed 03/24/17 Page 36 of 49 PagelD: 36

f

THE

Manischewitz >

COMPANY

April 4, 2016
Mr. Robert Faulkner

32 Cambridge Road
Verona, NJ 07044

Dear Mr. Faulkner,

We hope that you are well.

It is the goal of The Manischewitz Company to provide our employees a safe and comfortable work
environment, free of harassment and violence. Based on the documentation presented to us by you, it was

determined that your incarceration was because of a violent act (Domestic violence) in your home.

We do not tolerate any type of violence behavior from our employees. Therefore, due to the nature of
your incarceration and our need to provide our employees with a safe environment, we have no choice
but to terminate your employment effective immediately,

We wish you the best in your future endeavors.

Please do not hesitate to contact me if you should have any questions.

sindbely,

  
 

Labor Relations
tti@manischewitz.com
201 ~§53-1100 ext 2800

CC Employee File
Local Union

80 AVENUE K + NEWARK, NJ 07705 + 201-553-1100
Case 2:17-cv-01984-ES-MAH Document1 Filed 03/24/17 Page 37 of 49 PagelD: 37

Robert Faulkner Page | of |
From: "Beatriz Scotti" <bea.scotti@manischewitz.com>
Ta: pnfaicco@optimum.net, "pnfaicco@optonline.com" <pnfaicco@optoniine. net>

Date: 04/04/2016 12:35:10 PM

Subject: Robert Faulkner
Attachments: Bimage00!.png (2KB), AkimageQ02.png (2KB), “Letter term faulkner 2.doc (425KB),

AsLetter term faulkner,doc (425KB)

Good Moring Phil,

Attached you will find letter of suspension and termination for former employee Robert Faulkner. Mr.
Faulker just made union initiation in early March 2016. Unfortunately he was incarcerated for almost
two weeks due to domestic violence. Even though we hire employees with a non-violent past record.
We always believe in giving people a second a chance. In this instance, Mr. Faulkner committed the
crimes while employed at our company and therefore in our constant effort to keep our employees in a
safe and non-violent work place, we cannot accept his continued breaks with the law.

Therefore he was terminated effective today 04/04/2016.

Please do not hesitate to contact me with any questions.

Bea Scattt

Vice President of Human Resources & Labor Relations

She Manischeuitz Campany
80 Avenue K

Newark, New Jersey 07105
(201) 553-1100 ext 2800

bea.scotti@manischewitz.com

 

www.manischewitz.com
Oo Case 2:17-cv-01984-ES-MAH Documenti Filed 03/24/17 Page 38 of 49 PagelD: 38

b

BENT A WA PR I

Victoria F, Pratt
Chief Judge
Municipal Court of the City of Newark

James Simpson
Municipal Court Director

973-733-8116
JULY 06, 2016

Customer Service
973-733-6520

ROBERT L. FAULKNER
32 CAMBRIDGE ROAD
VERONA, NJ 07044

DOCKET: W-2016-005083
CHARGE: 2C:12-1A-(SEMPLE ASSAULT)
2C:17-3A(1)-(CREIMINAL MISCHIEF-DAMAGE PROPERTY)

DATE OF BIRTH: 10-16-1968
DATE OF INCIDENT: 03-13-2016

Dear Sir or Madam:

TUE COURT ACKNOWLEDGES RECEIPT OF YOUR COMMUNICATIONS REGARDING THE ABOVE MATTER.
THE OFFICIAL COURT RECORDS INDICATE THE FOLLOWING ADJUDICATION:

 

NOT GUILTY
GUILTY: FINE Ss COST ——s JAIL. = VCCB = OLREK |
PROBATION __ JAILSUSPENDED SN siDEDR DA
COMMUNITY SERVICE RT SL MISC. FEES —__

__X__ DISMISSED: (1) _X__ (2) __X__ SUPERIOR COURT ____ PLEAAGREEMENT ___
LACK OF PROSECUTION ____ WRONG DEFT. ss LACK OF WITNESS —___
MERGED _____ PROS. MOTION/REQ. OF VICTIM _____ PROSECUTORIAL DISCR. —___

FIRST OFFENDER’S PROGRAM
CONDITIONAL DISCHARGE

_X__ OTHER: HON, SHARIFAH R. SALAAM DISMISSED CASE ON 07/06/2016

If you should require any additional information, please feel free to contact our Customer
Service Call Center at (973) 733-6520.

Respectfully, dl
— Ful

Municipal L- et A Administrator

 
Case 2:17-cv-01984-ES-MAH Document 1 Filed 03/24/17 Page 39 of 49 PagelD: 39

< Manischewitz »

COMPANY —

April 27, 2016

To whom it may concern;

This letter is to serve as confirmation that Mr Robert Faulkner was employed with The
Manischewitz Company in the position of Matzo Line General Helper from 10/11/2015
to 04/04/2016.

Unfortunately due to low sales margins and lack of production we had no alternative (in
agreement with Local 359) but to layoff certain employees in our plant.

If you require further information, please do not hesitate to contact me at the number

|

/ Sincerel
wy,

 
  
  

 

Gea Scotti

/
/ Director of Human Resources and Labor Relations
/ The Manischewitz Company
Bea.scotti(@manischewitz.com
201-553-1100 ext 2800

LDAP PVDIE B70 P29 772 £29 Df

ee.

nae

Se —

a,

—

80 AVENUE K » NEWARK, NJ 07105 + 201-533-1100

'
Fee tt teint
 

 

 

 

Case 2:17-cv-01984-ES-MAH Document1 Filed 03/24/17 Page 40 of 49 PagelD: 40
TRANSMISSION VERIFICATION REPORT

TIME ; 04/29/2016 18:39
NAME

FAX

TEL :

SER. # : U63274C5J912430

 

 

DATE, TIME 4/29 18:38
FAX NO. /NAME 19736482469
DURATION 6a: 60:15
PAGE(S) al
RESULT OK
MODE STANDARD

ECM

 

 

 

   

  

 

oo or Ee
Manischewits >

COMPANY

   

April 27, 2016

To whom it may concern;

This letter is to serve as confirmation that Mr Robert Faulkner was employed with The
Manischewitz Company in the position of Matzo Line Gerieral Helper frotn 10/11/2015
to 04/04/20) 6.

Unfortunately due to low sales margins and lack of production we had no alternative (in
agreement with Local 359) but to layoff certain employees in our plant.

Lf you require further information, please do not hesitate to contact me at the number

  
  

Director of Human Resources and Labor Relations
The Manischewitz Company

Bea.scotti(@manischewitz.com

201-553-1100 ext 2800

 
i

Case 2:17-cv-01984-ES-MAH

Recruiters

Liliana Diaz
Vanessa Tejada

e-mail: newarkGirg.io

Distict Manager

Juanita Gonzalez
e-mail: jgonzalezirg.io

Hur.cn Resource Services and Cantingency Stating Made Easy

fJO/?

Document 1 Filed 03/24/17 Page 41 of 49 PagelD: 41

rlRG

intelligent Resource Group

125 Blaomfield Ave.
Newark, NJ 07104
Phone {(973}497-7060
Fax (973) 497-7062

 

CHIOV? WweOr Kerry

CL ORANG YOo+ fecetr

MANAGEMENT GROUP

 

 

 

383 Walnut Street
Newark, NJ 07105

www.staffmg.com

Phone: (973) 587-0370
Fax: (973) 350-1105

i

 
(et are
“TNE, ake Cate
- Manietewits: ve ee
COMPANY we
05/03/16

’
4

”
+

Case 2:17-cv-01984-ES-MAH Document 1 Filed 03/24/17 Page 42 of 49 PagelD: 42

an

tink cies aerate

Ref: Robert Faulkner

SS#XXX-XX-XXXX

To Whom tt May Conern:

This letter is to certify that Mr. Faulkner was laid-off on 4/4/16 due to lack of work.
) completed a form on 4/19/16 and stated he was terminated due to violation of
company policy which was a mistake in my part. After speaking to Beatriz Scottie VP of

Human Resources found out it was due to downsizing.

If you have any other questions regarding Mr. Faulkner please feel free to call me

at (201) 553-1100#2413.

Sincere yours,

’

Elizabeth Rosario

Payroll Administrator

BO AVENUE K + NEWARK, HJ 07105 © 201.553.1100

 

 
 

Case 2:17-cv-01984-ES-MAH Documen

'
e
a @
v, per ane
40,
“ <5 onset .

UNITED SEAFOOD WORKERS UNION

S24-DO|6-O\O
nl AOC)

April 11, 2016 :
SZ SaHt

Mr. Robert Faulkner
32 Cambridge Road
Verona, N.J.07044 ,

The Executive Committee of Local 359 has denied your request to arbitrate against the
Manischewitz Company. Enclosed with this letter are e-mails regarding your case.

Please don’t hesitate to contact the union office with any questions involving this matter.

Local 359 UFCW

 

~
Executive Committee
90 John Street (Suite 303) no
a7
New York, N.Y. 10038 mm C3
om my aos rey
PTY on aE gag
(212) 233-1660 nO C3
m=
=e a
oT
nN }
wo
is Faicco Timothy Donoghue Local 359
Pecan Secretary- Treasurer United Food & Commercial Workers
Union

90 John Street, Suite 303
New York, NY 10038-2099
(212) 233-1660

Please visit our website at www.ffmlocal359.org
Case 2:17-cv-01984-FS-MAH Document 1 Filed 03/24/17— Page-44-6£49-Page O44 nnn

a
@

 

UNITED SEAFOOD WORKERS UNION

Robert Faulkner 04/20/2016
32 Cambridge Road
Verona, NJ 07044

Dear Brother Faulkner,

At your request we advised our Executive Board you wish to
appeal there decision regarding the filing of Arbitration on your
behalf, as you are aware the schedule date is 4/27/16 at 7:30AM
Hunts Point Fish Market 800 Food Center Drive New York, NY
10474. Meeting is at the Market Café. |

vg wn

Dennis Faicco- President Local 359

N ) e & a p
Yate ye

Certified Mail# 7015 1520 0003 5277 6728

Dennis Faicco Timothy Donoghue Local 359
President Secretary-Treasurer United Food & Commercial Workers
Union
90 John Street, Suite 303
New York, NY 10038-2099
(212) 233-1660

Please visit our website at www. ffmlocal359.org
 

Case 2:17-cv-01984-ES-MAH Document1 Filed 03/24/47 Page 45 0f49 PagelD: 45

a ® 9

 

Dear Member,

Our union strives to ensure the best possible representation for all of
its members. It is important that we work together as a team to
achieve our goals. Please be informed that all grievances must be
submitted to the union office in writing. This helps promote efficiency
in the unions procedure when dealing with Management on your

behalf.

| have always stressed how important it is for union members to
document problems in the form of written grievances. | feel it is
necessary to remind everyone that there are Shop Stewards on both
day and night shifts. Your Stewards are available to help you fill out
grievance forms if you should need to.

As always, you can contact the union office @ (212) 233-1660. You can
also fax us @ 212 349-8176. We are always available to help.

Sincerely,

  

MAS
Dennis Faicco

President
 

 

 

UNITED SEAFOOD WORKERS UNION
90 Jolin Street, Suite 303, NEW YORK, NY 10038 Tel; (212) 233-1660 FAX: (212) 349-3176

 

 

Dear Robert Faulkner,

   

; MM you contacted the union office. You stated that you

were denied your unemployment benefits by the company. We
contacted Manischewitz and HR assured us that this was not the case.

Please see the attached letter that was sent from the company on May
3, 2016 to the Unemployment Office. Please contact us immediately if
there are any further issues regarding this matter.

Local 359

Executive Committee

Dennis Faicco Jeffrey Sabbatino Local 359
President Secretary-Treasurer United Food & Commercial Workers
Union, AFL-CIO & CLC
140 Beekman Street, NY
New York 10038-2099
(212) 233-1660

 
Case 2:17-cv-01984-ES-MAH Document 1

UNITED SEAFOOD WORKERS UNION

July 13, 2016

Robert Faulkner
32 Cambridge Road
Verona, N.Y. 07044

Telephone 973-857-8930

Dear Brother Faulkner,

This office is in receipt of your memo dated July 7, 2016 along with City of Newark
papers from the Municipal Court of the City of Newark dated July 6, 2016, as well asa
letter from the County of Essex Department of Corrections, Essex County Correctional
Facility dated March 24, 2016 showing your incarceration from March 15, 2016 through
March 24, 2016, In your cover memo you’re requesting another review from the Union’s

Executive Board.

Enclosed please find a correspondence sent to the Executive Board for review. You will
be notified of their decision.

Thank you in advance

Fraternally, 2

Dennis Faicco

Dennis Faicco Timothy Donoghue Local 359
President Secretary-Treasurer United Food & Commercial Workers
Union

90 John Street, Suite 303
New York, NY 10038-2099
(212) 233-1660

Please visit our website at www.ffmlocal359.org

 
Case 2:17-cv-01984-ES-MAH Document1 Filed 03/24/17 Page 48 of 49 PagelD: 48

 

UNITED SEAFOOD WORKERS UNION

July 13, 2016

Executive Committee
Local 359

RE: Robert Faulkner
Telephone 973-857-8930

Dear Brothers,

With respect to correspondences from this office dated April 11, 2016, April 20, 2016,
April 25, 2016, and May 10, 2016 as well as all other papers sent to this office. Brother
Faulkner’s memo dated July 7, 2016 wants this matter resolved before other steps are
taken.

  

Fraternally
et nace

Dennis Fatcco

Ce: Timothy Donoghue
Paul Ackerman
James Giammanco
Edgar Galarza
Robert Lombardi
Nelson Orengo

Cc: Warren Mangan, Esq.

Dennis Faicco Timothy Donoghue Local 359
President Secretary-Treasurer United Food & Commercial Workers
Union

20 John Street, Suite 303
Néw York, NY 10038-2099
(212) 233-1660

Please visit our website at www.ffmlocal359.org
Case 2:17-cv-01984-ES-MAH Document1 Filed 03/24/17 Page 49 of 49 PagelD: 49

 

UNITED SEAFOOD WORKERS UNION

July 13, 2016

Robert Faulkner
32 Cambridge Road
Verona, N.Y. 07044

Telephone 973-857-8930
Dear Brother Faulkner,

1 am in receipt of your memo dated July 7, 2016. As you are aware on April 11, 2016 the
Executive Committee of Local 359 denied your request to arbitrate. On April 27, 2016
the decision regarding arbitration was denied once again.

Thank you in advance
Fraternally,

    

Dennis Faicco Timothy Donoghue Local 359
President Secretary-Treasurer United Food & Commercial Workers

Union

90 John Street, Suite 303
New York, NY 10038-2099
(212) 233-1660

Please visit our website at www.ffmlocal359.org
